                                                   EXHIBIT A

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                                                                                                     CASE NUMBER: 1310000192
                           UNICOI COUNTY SHERIFF DEPARTMENT State Control Number:860000011080
                                   INCIDENT REPORT               Original 181 Supplement 0
                        ' REPORTING OFFICER: Deputy Nicholas Wyall                            I10# 626              I ORI : TN0860000
 REPORTTYPE             .ADDRESS OF INCIDENT· 778 Rector Laurel Rd.                     ICity: Flag Pond            State: TN     IZone: 3
~
D
      ARREST
      OFFENSE
                         Date and Time of Incident: I 0-03-2013 0930                I
                                                                                    Arrival Time: 0955              Time of Arrest I 003


D     OTHER              STATUS OF INCIDENT:       [8J Cleared By Arrest O Closed       D Cleared Exceptionally OPending          QActive


             Exceptional Clearance Information                     Exceptional Clearance Date:
 D Death of Offender QVictim Refused to Cooperate
                                                   Complainant:
 D Prosecution Declined D Juvenile No Custody     Same as Victim
 D Extradition Denied ~Nol Applicable              Address:                                                             IPhone:

                                                                        VICTIM
Victim's Name: Jerry M. Puckett

Victim's Address: 778 Rector Laurel Rd. Flag Pond, TN 37657                                   Phone: (423)388-5611      IWork Phone:
0.0.8.          -1976       ISSN           -7541                I DL#                         State: TN         IVictims Sequence # 1
Sex: 181 Male  D Female 0 Unknown IRace: D Asian 181 White D Black                                    Olndian       D Unknown
Residence Status:  181 Resident 0 Non-Resident 0 Unknown Occuoation:
 Domestic Violence:        181Yes nNol Was Victim Transported To A Safe Place nYes 15<1No                   IWhere?
                             Type Of Victim                                                      Injury Type (Check up to five)

  ~Individual      D Government D Law Enforcement Officer D Broken Bones                                   D Possible Internal Injuries
  D Society/Public D Business D Religious Organization O None                                              D Other Major injuries
  D Financial            ounknown          OOther                            [81 Minor injuries            D Unconsciousness
                                                                        OFFENSE
  Offense Domestic A ssault                        T.C.A. CodeJ9-I3- l l I                  Status Of Offense      0 Attempted        181 Completed
 Offense                                           T.C.A. Code                              Status Of Offense      0 Attempted        0 Comoleted
  Offense                                          T.C.A. Code                              Status Of Offense       0 Attempted       0 Comoleted
                                                                     OFFENDER
  Name: Andrew J. Puckett                           IAddress: 778 Rector Laurel Rd.                                         IPhone:
  D.O.B          1978      ISS#        -6776             DL#                     ISex Matel Race White                  !Arrested: C81Yes0 No

  Eyes: Blue        IHair Brown       IWeioht 145 Lbs. Heiaht 5-11 IScars {other)
  Relationship of Victim to Offender. B      h
                                          rot er
 Offender Suspected of Using (X all that apply}        DAlcohol         Doruas           D Comouter Eauioment       0 Other
                                                    VEHICLE IDENTIFYING INFORMATION

  License No.                  IState                IStyle                         lv1N:
  Make                                       IModel                              IYear                          Color
                                                               DRUG INFORMATION
          Suspected Drug Type                         Estimated Quantity        Type I Measurement                          Other Information
)rug 1-
Jrug 2-
                                                                                                                                                                            ~
                                                                                                                                                                                     ~   t
    Weapon                    Description                          Serial#                       Caliber                      Make                       Type              .                 •
                                                                                                                                                                                '
                                                                                                                                                                                     .
    Property                  Description
                                            .                                                           Serial#                                   Total Value (est)
                                                                                                                                                                      .
                         1
                         2.
                         3.

                                                                            WITNESSES
Name:                                           I   0 .0 .B.                               Address
Occupation                                                                      I
                                                                                Home Phone                                                 I
                                                                                                                                           Work Phone

Name                                            lo.O.B.                                       Address

Occupation                                                                      I   Home Phone                                             !work Phone
Please see attached warrant.
    ·----·                                    ---                      - -                     ---             -                      --         --             ----- -
  ---------                                                                                                           ------
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----··-               --- -- --- - - -  ~--   -----           - - --- --                                                                                   ------ ··-- · - - -
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               -                                                                                                                      ·-                                                 -
    NON-PROSECUTION- I HAVE BEEN ADVISED OF THE EVIDENCE AND CIRCUMSTANCES OF THIS CASE AND AT THIS
    TIME DO NOT WISH to PRESS CHARGES AGAINST THE OFFENDER(s)
        VICTIM:                                                                     WITNESS:

        WITNESS:                                                                    DATE / TIME:

        THE INFORMATION CONTAINED IN THIS INCIDENT REPORT IS TRUE TO THE BEST OF MY KNOWLEDGE.
        I UNDERSTAND THAT IT IS A VIOLATION OF T.C .A. CODE 39-16-502 TO PROVIDE FALSE INFORMATION TO AN
        OFFICER AND THAT I MAY BE PROSECUTED FOR DOING SO.



                     COMPLAINANT I VICTIM                                                                                         /        Qh.TE I TIME

          Dceuty Nicholtts Wy au                         626                                   ~_p(~f      I       _../" _ /
                                                                                                                                                                          (0)...()
          Reporting officer                             ID Number                                 Approving Supervisor                                                 ID Number

    Case Assigned to:                                                                         Assigning Authority:
 Pagh # '      of                    •UL NOrtll Mam Avenue Eiwin. TN: 376. 0
'l   am~·ff-
           '
                    -                           STATE
                                                        MENT
                                                                    f~Ag~en:c;cy;-j(1o)!Y.Yci:iiar~Mi0ii
                                                                      TN 0860000
                                                                                                      on;'ii\1hT"Ko.,~y-r--=--
                                                                                                                         nme


                                                                      To Wllom Given



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                        00   1111,                                                             .
                                 GENERAL SESSIONS COURT OF UNICOI COUNTY TENNESSEE


     State of Tennessee vs. - - - - - -                 Puckett, Andrew J .                                          Case# 1310000192
                                                                                   ---~~-~--




                                                     AFFIDAVIT OF COMPLAINT
I, the affiant named below, after being sworn, state under oath that on or about              Thursda1_              October 3              2013

in Unicoi County, Tennessee,                                   Puckett, Andrew J.                                  committed the offense(s) of
                                    --~-                                             ----
violation(s) of T.C.A. §                        Domestic Violence Assault TCA 39-13· 111                                    1further state under oath

  that the essential facts constituting the offense(s), the sources of my information and the reasons why this information is believable
  and reliable are as follows:

  On 3 October, 2013 I was dispatched to 778 Rector Laurel Rd . in regards to a fight in progress. Upon
  arrival and making contact with the subjecfsa l\ifr:-Andrew J. Pucketta.nd his- brother Mr. Jerry- M~                            ·a
  Puckett they infurmedme that they had beeri in an.argument that turned physical. Upon        -amval the                            my
  subjects- had already separated ttlem selves . .After further contact with thesubjects·I fuund that Mr:
  Andrew Puckett had been on his brothers ·property-across the street to talk to his brother Mr. Jerr-Y
  PucketT,-dunngtheredTscussion Mr. Andr ew Puckett startedtOget VIOient and pUnehed his brother in
  fheface causing his nose to bleed, At that time Mr. Jerry M. Puckett defended himself by taking his

  confirmed tObefhe primary aggressor.                       =-
  brother to the ground. Afthat time 911 was called by a third party caller. Mr. Andrew J. Pucketfwas
                                                                     ~-~--=---··-=--
                                                                                    ---·-------------·------ -· -·-----.
                                                                                                                            --   ·-------~~--




 Affiant's   Signature:.._D~. A). .                  ._ _ .                                  Sworn to and subscribed before me on

 Name (Printed):                 _Deputy Nichola Wyatt fg~                                   -~----------- 20
 Address (Printed): _ __              102 North Main Ave.
                                                     ---~----
                                        Erwin, TN . 37650                                    Judge/Clerk. Judicial Commissioner
                                                     - - - - -- -
  Phone Number:                          ~423) 743-1850

                                                    PROBABLE CAUSE DETERMINATION
              Based on the affidavit of complaint. I find there is probable cause to believe that on the date set forth above in Unicoi County,.

   Tennessee the defendant committed the offense(s) of violation(s) of TCA §              Domestic Violence Assault TCA 39-13-111



  ( X} Defendant given citation or arrested without warrant (        ) Arrest warrant shall issue      (    ) Criminal Summons shall issue

    Date                                                  Judge/Clerk/Judicial Commissioner
                     ARREST WARRANT                                                        TO THE DEFENDANT
                                                                                                                                                        OFFICER'S RETURN
                                                                               @ Based on the affidavit of complaint f iled in
     Case#
                                                                                   this case, there is probable cause to believe
    State Control No. :             860000011080                                   that you have comm itted the offense(s) or
                                                                                                                                             ( X) Warrant served by arresting defendant today or on
         GEN~RAL SESSIONS COURT OF
                                                                                  v lolation(s) of T . C .A. §       39-13-111                       10-03-2013

                    . UNICOI COUNTY,
                        TENNESSEE
                                                                                 --·----------------·..----·- --------· -.
             STATE OF TENNESSEE                                                  -----------             ~ --------- ··--·-------~ · ··


                                   vs.

                    Puckett, Andrew J.
                                                         Defendant              1) Defendant has failed to appear in court or to
                               CHARGES                                            report to Jail when required to do so
    A. Domestic Violence            Ass_
                                       au_lt__ .

    B. --------·--·---·-·--·----·------
    C. - ---          -------------------------
    o. - - - - - - - - -
                                                                                                                                          Officer's Signature:
    E.
Attorney for Defendant


Court Date        FridaL_         October             2013          4 TH.    TO ANY LAWFUL OFFICER:                                       Officer's Name (Printed):
                                                                             You are therefore commanded 1n the name of the State or
State, Deft. to                        at                           AM\ PM                                                                         Deputy Nicholas Wyatt 626
State Deft. to                                                      AM\ PM   Tennessee to immediately ARREST the defendant named
                                       at
Slate, De rt. to                       at                           AM\ PM   above and bnng the defendant to this court to answer           Officer's Agency (Printed):
State, Deft. to "                      at                           AM\ PM   the charges.
State, Deft. to                        at                                     Ball is set at$_ _ _ _ _ _ _ _ _ _ _ _ _ __                     Unicoi County Sheriffs Department
                                                                    AM\ PM
                                                                              Conditions of Bond
    INFORMATION ABOUT THE DEFENDANT
  Name:         Puckett, Andrew J.                                                                                                        Date:                     10-03-2013
 Address:         77,8 }3ector Laurel Rd . Flagpond, TN 37657                Date: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                                            WITNESSES
 DOB:                       978             Sex:        Male
 Race:               Wh te                  Ht :        5-11                 Judge/Clerk/Judicial Commissioner                               Summo ns as a witnesses on the part of the State:
 Wt .. 145 lbs.     Hair:      Brown          Eyes:          Blue                                                                                         Deputy Andy S lag~e 620______ _
 Social Security No.: XXX-XX-XXXX D.L. #:
  Phone# :             n' e1           Cell# :          n/a
                                                                                                                                                                           -----------
 Place of Employment: n/a
                               - - ---                                                                                                    Summons as a witnesses on the part of the Defendant:

 May be Found at
                                                                                                                                          --·--------·-----·
